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                              UNITED STATES DISTRICT COUI IT                        FEB 0 2 2017
                            SOUTHERN DISTRICT OF CALIFOINIA
                                                                               CLERK US DISTRICT COURT
                                                                                     DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                                    i?uvW                  DEPUTY
                                                       Case No. 17CROi'o'l-CAB

                                      Plaintiff,
                      vs.
                                                       JUDGMENT OF DISMISSAL
ANDRES SANCHEZ-HURTADO,

                                    Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

j—I   an indictment has been filed in another case against the defendant and the Court has
       granted the motion of the Government for dismissal of this case, without prejudice; or
□     the Court has dismissed the case for unnecessary delay; or

|X|   the Court has granted the motion of the Government for dismissal, without prejudice; or

□     the Court has granted the motion of the defendant for a judgment of acquittal; or

□     a jury has been waived, and the Court has found the defendant not guilty; or

□     the jury has returned its verdict, finding the defendant not guilty;

□     of the offense(s) as charged in the Indictment/Information:




Dated:    1/31/2017
                                                   Hon. Andrew G. Schopler
                                                   United States Magistrate Judge
